
78 N.Y.2d 1110 (1991)
Norstar Bank of Upstate NY, Respondent,
v.
Office Control Systems, Inc., et al., Defendants, and Robert Winig, Appellant.
Court of Appeals of the State of New York.
Submitted October 7, 1991.
Decided November 25, 1991.
Robert M. Cohen for appellant.
Joseph M. Gaug for respondent.
Motion for leave to appeal dismissed as untimely. While the cover letter here stated only that the Appellate Division order was attached and did not specify that it was entered, the attached Appellate Division order was stamped entered with the date of entry and the name of the clerk of the court where the order was entered. Service of this cover letter together with the Appellate Division order constitutes service of the order with notice of entry so as to commence the running of appellant's time to move for leave to appeal. Thus, the motion for leave to appeal made more than 35 days after service of the cover letter and the Appellate Division order, was untimely (CPLR 5513 [b]; 2103 [b] [2]).
